           Case 3:16-cv-02970-EMC Document 46 Filed 01/03/17 Page 1 of 2



1    SINGER / BEA LLP
       Benjamin L. Singer (Bar No. 264295)
2      bsinger@singerbea.com
       Douglas S. Tilley (Bar No. 265997)
3      dtilley@singerbea.com
       Evan N. Budaj (Bar No. 271213)
4      ebudaj@singerbea.com
     601 Montgomery Street, Suite 1950
5    San Francisco, California 94111
     Telephone:     (415) 500-6080
6    Facsimile:     (415) 500-6080
     Attorneys for Plaintiff Software Research, Inc.
7
     MASLON LLP
8    Terrance C. Newby (pro hac vice)
     Thomas R. Pack (Bar No. 287268)
9    3300 Wells Fargo Center
     90 South Seventh Street
10   Minneapolis, Minnesota 55402
     Telephone:     (612) 672-8328
11   Facsimile:     (612) 642-8328
     Attorneys for Defendant Dotcom-Monitor, Inc.
12
                                     UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                         SAN FRANCISCO DIVISION
15
     SOFTWARE RESEARCH, INC.,
16                                                            CASE NO. 3:16-CV-2970-EMC
                    Plaintiff,
17                                                            STIPULATION FOR ENTRY OF
     v.                                                       DISMISSAL WITH PREJUDICE
18                                                            PURSUANT TO FEDERAL RULE OF
     DOTCOM-MONITOR, INC., and DOES 1                         CIVIL PROCEDURE 41(a)(1)(A)(ii)
19   through 10,
20                  Defendants.

21

22   DOTCOM-MONITOR, INC.,
23                  Counterclaim-Plaintiff,
24   v.
25
     SOFTWARE RESEARCH, INC.,
26
                    Counterclaim-Defendant.
27

28

     STIPULATION FOR ENTRY OF DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)(1)(A)(II)
                                              CASE NO. 3:16-CV-2970-EMC
           Case 3:16-cv-02970-EMC Document 46 Filed 01/03/17 Page 2 of 2



1           Plaintiff Software Research, Inc. (“Plaintiff”) and Defendant Dotcom-Monitor, Inc.

2    (“Defendant”) (collectively, the “Parties”) have settled all claims in this action, including an

3    agreement that each side will bear its own costs and fees. Plaintiff filed its Complaint on June 2,

4    2016, and served the same upon Defendant on June 14, 2016. See D.I. 1, 12. Defendant appeared on

5    July 19, 2016. See D.I. 13.

6           In light of the their settlement, the Parties hereby stipulate, subject to the approval of the

7    Court, that this lawsuit and all claims therein be dismissed with prejudice pursuant to Federal Rule of

8    Civil Procedure 41(a)(1)(A)(ii), with each side to bear its own costs and fees.

9
10

11

12

13

14                                                                                 Respectfully submitted,

15
     Date: December 27, 2016                                                               SINGER / BEA LLP
16
                                                                                           By: /s/ Benjamin L. Singer
17
                                                                                             Benjamin L. Singer
18                                                                                           Doug Tilley
                                                                                             Evan Budaj
19                                                                                           Attorneys for Software Research, Inc.
20   Date: December 27, 2016                                                               MASLON LLP

21   IT IS SO ORDERED. All hearings are                                                    By: /s/ Terrance C. Newby
     vacated. The Clerk of the Court is
                                                                                             Terrance C. Newby
22   directed to close this case.                   TA
                                                      TE
                                                        S DISTRICT
                                                                   C
                                                                                             Thomas R. Pack
                                                                          O
                                               S




                                                                           U
                                              ED




                                                                            RT




                                                                  ED
                                                           ORDER
                                          UNIT




23
                                                   IT IS SO DIFIED
                                                      AS MO                                  Attorneys for Defendant Dotcom-Monitor, Inc.
                                                                                   R NIA




                                                                      . Chen
                                          NO




                                                                ward M
                                                        Judge Ed
                                                                                   FO
                                           RT




                                                                               LI




                                                   ER
                                              H




                                                                           A




                                                                               C
24                                                      N
                                                            D IS T IC T O
                                                                  R
                                                                          F



                                ATTESTATION REGARDING SIGNATURES
25
            I, Benjamin L. Singer, attest that all signatories listed, and on whose behalf the filing is
26
     submitted, concur in the filing’s content and have authorized the filing.
27
                                                                                                        __/s/ Benjamin L. Singer__
28                                                                                                          Benjamin L. Singer
                                                          -1-
      STIPULATION FOR ENTRY OF DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)(1)(A)(II)
                                               CASE NO. 3:16-CV-2970-EMC
